 Case 17-68562-lrc       Doc 8    Filed 10/27/17 Entered 10/27/17 14:37:56          Desc Main
                                   Document     Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
In Re:                                           )    Chapter 13
Cheyenne Paige Wiler                             )    Case No. 17-68562-LRC
aka Cheyenne P Wiler                             )    Judge Lisa Ritchey Craig
                                                 )
                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of U.S. Bank National Association, as Trustee for STRUCTURED
ASSET SECURITIES CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2006-RF2, its successors or assigns (hereinafter referred to as “Creditor”), a secured
creditor in the above referenced case on real property located at 4317 Round Hill Rd,
Chesterfield, VA 23832. Creditor, through counsel, hereby requests that all notices to Debtor(s)
or Creditors also be mailed in care of Creditor as follows:
                              Shapiro Pendergast & Hasty, LLP
                              211 Perimeter Center Parkway, N.E., Suite 300
                              Atlanta, GA 30346


Dated October 27, 2017
                                                     Shapiro Pendergast & Hasty, LLP


                                                     /s/Taylor S. Mansell
                                                     Taylor S. Mansell
                                                     Georgia Bar No. 940461
                                                     211 Perimeter Center Parkway, N.E.
                                                     Suite 300
                                                     Atlanta, GA 30346
                                                     Phone: 770-220-2535
                                                     Fax: 770-220-2665
                                                     gaecfnotifications@logs.com
